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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              )   CASE NO.: 1:12-cr-0213 AWI DLB
11                                          )
                      Plaintiff,            )   STIPULATION AND
12                                          )   [PROPOSED] ORDER MODIFYING
                v.                          )   CONDITIONS OF PRE-TRIAL
13                                          )   RELEASE AS TO DEFENDANT
     ELISEO JARA, JR.,                      )   SERGIO JARA
14   SERGIO JARA,                           )
     ANTONIO PEREZ-MARCIAL,                 )
15   LUCIA YOLANDA CHAVEZ,                  )
     ARLENE JEANETTE MOJARDIN,              )
16   CANDACE SHANTEL GONZALES,              )
     JOSEPH SHAWN CHAVEZ, JR.,              )
17   MELISSA ROCHELLE JARA, and             )
     RICARDO FABIAN SALINAS,                )
18                                          )
                      Defendants.           )
19                                          )
20
21        Defendant SERGIO JARA, by and through his counsel of record Carl
22   M. Faller, and plaintiff the United States of America, by and through
23   its counsel of record, hereby agree and stipulate to, and request
24   that the Court order, the modification of the conditions of pre-trial
25   release as to defendant Sergio Jara as follows:
26        1.   Defendant Sergio Jara is released on a $100,000 secured
27   property bond, secured by the real property located at 8105
28   Rockhampton Dr., Bakersfield, CA 93313, which is owned by defendant
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 1   Sergio Jara and co-defendant Melissa Jara.         A $100,000 property bond
 2   utilizing the equity in this property shall be forfeited upon the
 3   failure of defendant Sergio Jara to appear as required or to abide by
 4   any of the conditions of his release.
 5         2.     The condition that the defendant “shall not be employed in
 6   any capacity related to the real estate industry” shall be removed
 7   and replaced with the condition that the defendant “shall not apply
 8   for, or obtain, any real estate loan, or purchase or sell any real
 9   estate, and shall not engage in any activities related to mortgage
10   brokering or lending, or real estate brokering, without the advance
11   approval of the Pretrial Services Officer.”
12         3.     All other previously-ordered terms and conditions of
13   release, not in conflict, shall remain in full force and effect.
14         IT IS SO STIPULATED.
15   DATED:     Aug. 24, 2012                   BENJAMIN B. WAGNER
                                                United States Attorney
16
                                         By: /s/ Kirk E. Sherriff
17                                           KIRK E. SHERRIFF
                                             HENRY Z. CARBAJAL III
18                                           Assistant U.S. Attorneys
19
20   DATED:     Aug. 24, 2012            By: /s/ Carl M. Faller
                                             (authorized on 8/24/12)
21                                           CARL M. FALLER
                                             Attorney for defendant
22                                           SERGIO JARA
23
24                                        ORDER
25   IT IS SO ORDERED.
26   Dated: August 30, 2012                              /s/ Jennifer L. Thurston
     9j7khi                                         UNITED STATES MAGISTRATE JUDGE
27
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